          Case 1:19-cr-00066-LTS Document 33 Filed 01/08/21 Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - -X
UNITED STATES OF AMERICA,                                  :
                                                           :
         Plaintiff,                                        :
                                                           :
                           -against-                       : Case No. 2:19-CR-66 (LTS)
                                                           :
ANGEL REYES,                                               :           Order
                                                           :
         Defendant.                                        :
                                                           :
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - -X

        WHEREAS, on January 4, 2021, the Court granted defendant’s motion

pursuant to 18 U.S.C. 3582(c)(1)(A) for a sentence reduction and reduced

defendant’s sentence to time served;

        WHEREAS, the Court’s sentence reduction was stayed for up to fourteen

days to allow time to make arrangements, and verify those arrangements, for

defendant’s admission to a residential drug treatment program;

        WHEREAS, defendant has been admitted to a program approved by and

verified by the Probation Department, to which he must report on January 12,

2021;

        WHEREAS, the Federal Defenders have made arrangements to transport

defendant to the program on January 12, 2021;
        Case 1:19-cr-00066-LTS Document 33 Filed 01/08/21 Page 2 of 2




      It is hereby ORDERED that the Bureau of Prisons is to release Angel Reyes,

86526-054, on January 12, 2021 no later than 9:00 a.m.; and

      It is further ORDERED that the Bureau of Prisons provide to Mr. Reyes at

his discharge: (1) a copy of his most recent COVID test results; and (2) a 30-day

supply of his prescribed medications—

                                              .



Dated: January __,
                8 2021



                                                    /s/ Laura Taylor Swain
                                                   _________________________
                                                   Laura Taylor Swain
                                                   United States District Judge




                                        -2-
